         Case 1:16-cv-11620-NMG Document 217 Filed 07/31/19 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 DAVID B. TRACEY, et al.,

 Plaintiffs,
                                                        No. 16-cv-11620-NMG
 v.

 MASSACHUSETTS INSTITUTE OF
 TECHNOLOGY, et al.,

 Defendants.

         JOINT MOTION FOR A STATUS CONFERENCE REGARDING TRIAL

        Plaintiffs and Defendants (collectively the “Parties”), by and through their respective

counsel, hereby jointly move for a status conference at the Court’s earliest possible convenience

to discuss the length of the September 9, 2019 trial and division of time at the trial, should

Defendants’ pending motion for summary judgment (Doc. 204) be denied. In support of this

Joint Motion, the Parties state as follows:

        1.      This matter is currently set for trial on September 9, 2019 with a pre-trial

conference on September 4, 2019. Doc. 190 at 2.

        2.      The Court’s prior scheduling orders do not delineate the anticipated length of trial

or any time limitations. See Doc. 84; Doc. 136; Doc. 190.

        3.      The Parties agree that a status conference with the Court is necessary to address

the anticipated length of trial, the division of trial time, and any other pre-trial issues the Court

wishes to address, in order to allow for the efficient preparation and presentation of evidence by

the Parties.
        Case 1:16-cv-11620-NMG Document 217 Filed 07/31/19 Page 2 of 4



       WHEREFORE, the Parties respectfully request that the Court schedule a status

conference at the Court’s earliest convenience.

       Respectfully submitted this 31st day of July, 2019.


                                             /s/ Jerome J. Schlichter
                                             Jerome J. Schlichter (pro hac vice)
                                             Heather Lea (pro hac vice)
                                             Joel D. Rohlf (pro hac vice)
                                             Scott T. Apking (pro hac vice)
                                             SCHLICHTER BOGARD & DENTON LLP
                                             100 South Fourth Street, Suite 1200
                                             St. Louis, MO 63102
                                             T: 314-621-6115
                                             F: 314-621-5934
                                             jschlichter@uselaws.com
                                             hlea@uselaws.com
                                             jrohlf@uselaws.com
                                             sapking@uselaws.com

                                             Lead Counsel for Plaintiffs


                                             Michael M. Mulder (pro hac vice)
                                             Elena N. Liveris (pro hac vice)
                                             LAW OFFICES OF MICHAEL M. MULDER
                                             1603 Orrington Avenue, Suite 600
                                             Evanston, Illinois 60201
                                             T: 312-263-0272
                                             F: 847-563-2301 (fax)
                                             mmulder@mmulderlaw.com
                                             eliveris@mmulderlaw.com

                                             Counsel for Plaintiffs

                                             Stephen Churchill (BBO #564158)
                                             FAIR WORK, P.C.
                                             192 South Street, Suite 450
                                             Boston, MA 02111
                                             T: 617-607-3260
                                             F: 617-488-2261
                                             steve@fairworklaw.com

                                             Local Counsel for Plaintiffs

                                                  2
Case 1:16-cv-11620-NMG Document 217 Filed 07/31/19 Page 3 of 4




                            /s/ Catalina J. Vergara
                            Brian D. Boyle (pro hac vice)
                            Shannon M. Barrett (pro hac vice)
                            Catalina J. Vergara (pro hac vice)
                            Deanna M. Rice (pro hac vice)
                            O’MELVENY & MYERS LLP
                            1625 Eye Street, N.W.
                            Washington, DC, 20006
                            T: 202-383-5300
                            F: 202-383-5414
                            bboyle@omm.com
                            sbarrett@omm.com
                            cvergara@omm.com
                            drice@omm.com


                            Roberto M. Braceras (BBO # 566816)
                            GOODWIN PROCTER, LLP
                            100 Northern Avenue
                            Boston, MA 02210
                            T: 617-570-1676
                            F: 617-523-1231
                            rbraceras@goodwinlaw.com

                            Attorneys for Defendants




                               3
        Case 1:16-cv-11620-NMG Document 217 Filed 07/31/19 Page 4 of 4




                                 CERTIFICATE OF SERVICE

       I, Jerome J. Schlichter, hereby certify pursuant to Local Rule 7.1(a)(2) that counsel for

Plaintiffs have conferred with counsel for Defendants about the issues presented by this motion,

and that Defendants have assented to the relief requested in this motion.


       I further certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on July 31, 2019.


                                                      /s/ Jerome J. Schlichter
                                                      Jerome J. Schlichter
                                                      Attorney for Plaintiffs




                                                 4
